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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


DEVIN G. NUNES,
                                            FILED UNDER SEAL

           Plaintiff,                       CONTAINS INFORMATION
                                            DESIGNATED AS HIGHLY
v.                                          CONFIDENTIAL
WP COMPANY LLC, d/b/a THE                   ORAL ARGUMENT REQUESTED
WASHINGTON POST and ELLEN
NAKASHIMA,                                  Case No. 1:21-cv-00506 (CJN)

           Defendants.



       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT



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                                        INTRODUCTION

       On November 9, 2020, Washington Post national security reporter Ellen Nakashima spent

a few hours reporting and writing a 600-word breaking news story about the imminent

appointment of White House official and former Republican political operative Michael Ellis to

the position of general counsel of the National Security Agency (“NSA”) and opposition to the

appointment within the agency. The appointment was newsworthy because two days earlier news

organizations had announced Joe Biden’s victory over incumbent Donald Trump in the 2020

presidential election; the NSA is “the U.S. government’s largest and most technically advanced

spy agency”; and as general counsel Ellis, with considerably less experience than past NSA

general counsels, would “no longer be a presidential appointee, but a senior civil servant with

civil service protections” in the next administration. Ex. 1; Ex. 2; Nakashima Decl. ¶ 20.

       As part of the Article’s discussion of Ellis’s background, Nakashima included a brief

mention of Ellis’s involvement in a March 2017 episode involving then-chair of the House

Permanent Select Committee on Intelligence Devin Nunes that had come to be known as “the

midnight run.” In doing so, Nakashima made a factual error. She wrote that “Nunes . . . was

given access at the White House to intelligence files that Nunes believed would buttress his

baseless claims of the Obama administration spying on Trump Tower,” Ex. 1, when she should

have referred to the claims as “Trump’s baseless claims.”            Nakashima also included an

explanation that the “midnight run” nickname came from it reportedly occurring late at night. Id.

       Once Nunes brought the error to the attention of Nakashima and The Post (collectively,

“The Post”) and asserted that the review of the files had not occurred at night, Ex. 3, The Post

published a correction that attributed the baseless spying claims to Trump, stated Nunes believed

that the files would buttress those claims, and added that the precise timing of the visit was unclear
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and Nunes said it occurred during daylight hours. Ex. 4; Ex. 5. Despite the timely correction,

Nunes—at the time one of the most powerful people in the federal government—pursued a

defamation lawsuit against The Post, consistent with his stated policy: “if you defame or slander

me, I take you to court.” Ex. 6 at 79:10-12 (Nunes v. Lizza deposition transcript).

       In its Opinion denying The Post’s Rule 12(b)(6) motion to dismiss, the Court explained

that “the question” of 12(b)(6) dismissal “is a close one,” but “at this stage in the proceedings,

where the Court is limited to the allegations in the Amended Complaint and the reasonable

inferences that can be drawn from them, the Court cannot determine what in fact led to the

incorrect statements in the article.” Aug. 11, 2021 Op. (“12(b)(6) Op.”), ECF No. 41, at 1, 12.

The Court emphasized that “[l]ater in this case, Nunes will have to establish by clear and

convincing evidence” that The Post “published its statements with actual malice.” Id. at 12.

       We are now at the later, summary judgment, stage of the case. Nunes has had a full

opportunity to conduct discovery, and summary judgment should be granted for The Post on a

number of alternative grounds.

       First, Nunes cannot establish, by clear and convincing evidence, that The Post made any

false statement about him with actual malice—that is, knowing it to be false or with serious doubts

about its truth—either in the original Article (“the Article”) or when The Post corrected and

updated the Article (“the Corrected Article”). As the D.C. Circuit has held, an “honest” error like

The Post’s “does not amount to actual malice even if the publisher was negligent.” Kahl v. Bureau

of Nat’l Affs., Inc., 856 F.3d 106, 117 (D.C. Cir. 2017) (Kavanaugh, J.).

       Second, the challenged statements were neither materially false nor defamatory. The

Article stated that in March 2017 Nunes was given access at the White House, reportedly late at

night, to intelligence files that he believed would support his baseless spying claims. Any “gist”



                                                2
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or “sting” from that statement was not materially false when compared to the indisputable record

of Nunes’s conduct at the time. That conduct included (1) claiming that the intelligence files

showed possible Obama administration surveillance of Trump or his associates while pretending

that the White House was unaware of the files, Ex. 7 at 3; Ex. 7a; (2) making repeated false

statements to the public to conceal the fact that White House officials had secretly given Nunes

access to the files in the first place, Ex. 8 at 16; Ex. 8a; and (3) at least once making the baseless

claim that Trump had appeared in those intelligence files, Ex. 9; Ex. 9a.

       The Corrected Article said that Nunes, who it reported had stated that he did not believe

there had been any wiretapping of Trump Tower, had received access to intelligence files that he

believed would buttress Trump’s baseless claims of spying on Trump Tower (it also said that the

precise timing of the visit was unclear and that Nunes said it took place during daylight). Here

too, any “gist” or “sting” was not materially false when compared to the record of events in March

2017, which included: (1) Nunes in fact using the intelligence files he reviewed at the White

House to publicly and repeatedly lend credence to Trump’s wiretapping claims by equating those

claims with what Nunes called other possible Obama administration surveillance of Trump or his

associates, Ex. 7; (2) Nunes stating on national television that a reason for his highly publicized

briefing of President Trump about the intelligence files was that Trump had “been taking a lot of

heat in the news media,” Ex. 10; Ex. 10a; (3) Nunes telling White House reporters that “it is

possible” that Trump’s wiretapping claims were correct, Ex. 11 at 4:07-4:12; and (4) Trump

stating shortly after the briefing that “Nunes said, so that means I’m right,” Ex. 12.

       Third, summary judgment should be granted as to the Corrected Article because its

statement about how Nunes “believed” the intelligence files could be used is nonactionable

opinion as it is an unverifiable statement about someone’s belief or motivation.



                                                  3
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       The First Amendment requires that journalists who report on high public officials like

Nunes have the opportunity to resolve defamation lawsuits early to avoid the chilling effect of

burdensome and expensive litigation, including trial. This is especially so when such public
                                                                                           1
officials have professed, and acted on, a “policy” of suing over every alleged “slander.” As the

D.C. Circuit has emphasized: “To preserve First Amendment freedoms and give reporters,

commentators, bloggers, and tweeters (among others) the breathing room they need to pursue the

truth, the Supreme Court has directed courts to expeditiously weed out unmeritorious defamation
                                                                        2
suits.” Kahl, 856 F.3d at 109. Summary judgment should be granted.

                                        BACKGROUND

       A.      The Passages at Issue in the Article and the Corrected Article.

       For ease of reference, we first set forth (1) the passage at issue in the online November 9,

2020 Article, and (2) the Correction and the corrected passage in the online December 7, 2020
                                                                                               3
Corrected Article, showing with a markup how the Corrected Article changed the passage.

       November 9, 2020 Article (excerpt) (Ex. 1):

               In March 2017, [Ellis] gained publicity for his involvement in a
               questionable episode involving Nunes, who was given access at the White
               House to intelligence files that Nunes believed would buttress his baseless
               claims of the Obama administration spying on Trump Tower.

               News reports stated that Ellis was among the White House officials who
               helped Nunes see the documents—reportedly late at night, earning the
               episode the nickname “the midnight run.”
1
  Since 2019, Nunes has pursued at least seven other defamation lawsuits against news
organizations, including a previous lawsuit against The Post in which a 12(b)(6) dismissal was
affirmed on appeal. Hentoff Decl. ¶ 4; Nunes v. WP Co., 2022 WL 997826 (D.C. Cir. Apr. 1,
2022). Defending against these lawsuits necessarily imposes substantial costs on the news media.
2
 The Post has separately filed a motion for sanctions, ECF No. 78, which is pending. That motion
does not seek any relief relating to summary judgment.
3
 The print version of the Article, Ex. 2, and the print Correction, Ex. 5, were similar, except the
print version did not mention the timing of Nunes’s visit and thus neither did the print Correction.

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       December 7, 2020 Correction and Corrected Article (excerpt) (Ex. 4):

               Correction: As originally published, this article inaccurately attributed
               claims that the Obama administration spied on Trump Tower to Rep. Devin
               Nunes (R-Calif.), rather than to President Trump. Nunes has stated that he
               did not believe there had been any wiretapping of Trump Tower. This
               article has also been updated to note that Nunes says an incident known as
               the “midnight run” took place during daylight hours.

                                                 * * *
               In March 2017, [Ellis] gained publicity for his involvement in a
               questionable episode involving Nunes, who was given access at the White
               House to intelligence files that Nunes believed would buttress his Trump’s
               baseless claims of the Obama administration spying on Trump Tower.

               News reports stated that Ellis was among the White House officials who
               helped Nunes see the documents — reportedly late at night, earning the
               episode the nickname “the midnight run.” The precise timing of the visit is
               unclear, and Nunes says it took place during daylight hours.

       B.      March and April 2017.

               1.      Before March 21, 2017.

       Before March 2017, U.S. government surveillance played a role in two controversies that

had arisen in connection with the new Trump presidency: alleged Russian interference with the
                                              4
2016 presidential campaign, see, e.g., Ex. 13, and revelations of previously undisclosed contacts

between Trump campaign or transition officials and the Russian government, see, e.g., Ex. 14.

       On the morning of Saturday, March 4, 2017, President Trump posted four tweets claiming

that he had just learned that he personally had been a victim of improper government surveillance:




4
  The Court may take judicial notice of “news articles . . . not for their truth but merely for the
fact that they were published.” Hourani v. Psybersolutions LLC, 164 F. Supp. 3d 128, 132 n.1
(D.D.C. 2016), aff’d, 690 F. App’x 1 (D.C. Cir. 2017); Wash. Post v. Robinson, 935 F.2d 282,
291 (D.C. Cir. 1991) (taking judicial notice of newspaper articles that publicized certain events).

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Ex. 15. The tweets included Trump’s claims that he “[j]ust found out that Obama had my ‘wires

tapped’ in Trump Tower just before the victory” and “President Obama was tapping my phones

in October, just prior to Election!” Id.

       These claims were denied by Obama and former National Intelligence Director James

Clapper. Ex. 16. Trump faced criticism for making wiretapping claims without a basis in fact or

subsequently providing evidence. Exs. 17, 18. The bipartisan leaders of the Senate Intelligence

Committee stated, “we see no indications that Trump Tower was the subject of surveillance by

any element of the United States government either before or after Election Day 2016.” Ex. 19.

       Facing criticism, Trump publicly welcomed any reports of Obama administration

surveillance that could be described as analogous to wiretapping. For example, in a March 15,

2017 interview on Fox News, Trump told Tucker Carlson: “And don’t forget, when I say,

wiretapped, those words were in quotes . . . because wiretapping is pretty old-fashioned stuff but

that really covers surveillance and many other things. And nobody ever talks about the fact that

was in quotes but that’s a very important thing. But wiretapped, it covers a lot of different things.”

Ex. 20; Ex. 20a. Trump then added: “I think you’re going to find some very interesting items

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coming to the forefront over the next two weeks.” Id.

       As Chair of the House Intelligence Committee, Nunes commented on Trump’s

wiretapping claims. Although Nunes said there was no evidence that Trump Tower had literally

been wiretapped, he repeatedly added to that remark statements that Trump’s expressed concern

about Obama administration surveillance of him was nevertheless valid. For example:

       ●       March 7, 2017: “[I]f I’m understanding the point of [the tweets]— . . . was he or

any of his associates targeted,” then “I think it’s a valid question.” Ex. 21 at 5:27-45.

       ●       March 15, 2017: “President Obama wouldn’t physically go over and wiretap

Trump Tower. . . . But if you’re not going to take the tweets literally, and if there’s a concern that

the president has about other . . . surveillance activities looking at him or his associates, either

appropriately or inappropriately, we want to find that out.” Ex. 22 at 7:35-8:06.

       ●       March 20, 2017: “Let me be clear: we know there was not a wiretap on Trump

Tower. However, it’s still possible that other surveillance activities were used against President

Trump and his associates.” Ex. 23.

       On March 20, 2017, FBI Director James Comey testified before Nunes at the Intelligence

Committee’s March 20 hearing that:

               I have no information that supports those tweets and we have looked
               carefully inside the FBI. The Department of Justice has asked me
               to share with you that the answer is the same for the Department of
               Justice and all its components. The Department has no information
               that supports those tweets.

Id. at 17. Comey also revealed that the FBI was investigating Russian interference in the 2016

election, including whether anyone affiliated with the Trump campaign had aided it. Ex. 24.

               2.      March 21, 2017.



                                                      . Ex. 25. At the end of the work day, Nunes

                                                  7
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joined staffers and constituents                 from the Capitol to an after-work reception at the

Building Museum. Ex. 26 (Deposition of Deputy Chief of Staff Caitlin Canter (“Canter Dep.”))

at 59:20-65:4.

                 Canter Dep. at 67:11-67:14. Nunes dropped off his passengers                   , and

rerouted it to take him to the White House grounds. Ex. 27 at 5.



                                    Ex. 28. Nunes met with Michael Ellis, who at the time was a

White House lawyer and National Security Council (“NSC”) staffer and had recently been

Nunes’s staffer on the Intelligence Committee. Ex. 29 (Deposition of Special Assistant to the

President Michael Ellis (“Ellis Dep.”)) at 8:4-8:17, 9:10-9:13. Ellis testified that the first time he

discussed setting up the meeting to show Nunes the intelligence files was March 20 or March 21,

with White House Counsel Don McGahn and White House NSC Legal Advisor John Eisenberg.

Ellis testified that he first discussed the meeting with Nunes on March 21 and he called Nunes to

come to the White House that day. Ellis Dep. at 73:19-75:8, 78:3-79:9. He testified that he told

Nunes “there was some information we thought was important for him to see, and that he needed

to see it in person at the White House.” Id. at 78:15-79:2. Nunes testified that the meeting was

his idea and he set up the meeting days earlier in a call with Ellis. Ex. 27 at 4.

       Before meeting with Nunes, Ellis met with White House Counsel McGahn and NSC Legal

Advisor Eisenberg. Ellis Dep. at 73:19-75:8. Ellis was given a set of intelligence reports to show

Nunes. Id. at 92:14-93:6. Those reports reflected instances in which members of the Obama

administration had reviewed foreign intelligence surveillance that had incidentally collected

information about members of Trump’s transition team and unmasked information about them.




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                                           5
Ellis Dep. at 93:14-94:2, 106:12-106:18.

       Ellis did not escort Nunes off the White House grounds, and White House records

obtained in discovery do not reflect when Nunes left the White House complex. Nunes testified

that he arrived at the Building Museum reception by 7 p.m. Ex. 30 (Deposition of Devin Nunes

(“Nunes Dep.”)) at 45:5-45:6; Ex. 27 at 6. His Chief of Staff who attended the event testified that

                                                                   Ex. 31 (Deposition of Chief of

Staff Jilian Plank Souza (“Souza Dep.”)) at 152:6-8.         After the event, Nunes entertained

constituents at the Capitol into the early morning of Wednesday, March 22. Ex. 27 at 7–8.

               3.      March 22, 2017.

       Nunes immediately publicized his review of the files. He called a press conference early

that day at the Capitol. Ex. 7. Stating that he had recently encouraged anyone with information

about “surveillance on President-Elect Trump or his team to come forward,” Nunes announced

that undisclosed “sources who . . . thought that we should know it” had shown him information

about potential incidental collection and unmasking by the Obama administration of “President-

Elect Trump or his transition team.” Id. at 3, 6. Nunes said the information “bothers me enough”

that he briefed the Speaker of the House about it and would shortly brief the President. Id. at 6.

       Nunes again coupled his denial that wiretapping occurred with the claim that something

similarly concerning may have happened: “while there was not a physical wiretap of Trump



5
  Under U.S. law, authorized government surveillance of foreign citizens may incidentally collect
information about American citizens—either because the American was involved in the surveilled
communication or it mentioned the American. To protect privacy, such information is supposed
to be “minimized” so that officials viewing intelligence reports do now know the identity of the
Americans. When required for reasons like the need to fully understand the gathered intelligence,
officials may approve the “unmasking” of the information about the Americans. See Incidental
Collection in a Targeted Intelligence Program,” https://bit.ly/3tWBmIs; When Is It Permissible
To Identify an American in an Intelligence Report?, https://bit.ly/47eh6Ap.

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Tower, I was concerned that other surveillance activities were used against President Trump and

his associates.” Id. at 1. Asked whether President Trump’s “personal communications were

collected,” Nunes responded: “It’s possible.” Id. at 2.

        Even though Nunes had been at the White House complex the previous evening reviewing

intelligence files handed to him by a White House lawyer, Nunes suggested that he had received

the information from an intelligence whistleblower and was heading to the White House to inform

“the administration” of what he learned.           Nunes made the false statement that “[t]he

administration, I don’t think, is aware of this. I want to make sure I go over there and tell them

what I know.” Id. at 3. He repeated that “I’m going to go to the White House and at least let

them know what . . . I’ve seen . . . because . . . they need to see it. If they don’t have it, they need

to see it.” Id. at 5. Again, Nunes knew “the administration” had the information because a White

House lawyer had showed it to him, in the White House complex.

        Nunes briefed President Trump in the Oval Office that afternoon and stepped outside to

hold a second press conference. He said, “I briefed the president on the concerns that I had about

incidental collection and how it relates to president-elect Trump and his transition team.” Ex. 11

at 1. As reflected in the video of Nunes’s remarks, Nunes was asked if this information “suggests

the president was correct in what he tweeted?” Nunes replied: “It is possible.” Ex. 11a at 4:07–

4:12. Nunes followed up by suggesting that Trump had in fact been surveilled, stating that while

“President Obama tapp[ing Trump’s] phones” “did not happen,” as for whether “President

Obama order[ed] any kind of surveillance of the . . . president-elect,” he said, “we don’t know

who sent the taskings.” Ex. 11 at 2 (emphasis added).

        Shortly thereafter, Trump was asked by reporters at the White House whether he felt

“vindicated by Chairman Nunes’s” briefing. He responded, “I somewhat do. I must tell you I



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somewhat do. I very much appreciated the fact that they found what they found. But I somewhat

do.” Ex. 10; Ex. 10a at 0:23-0:36. In an interview with Time Magazine later that day, Trump

elaborated: “Devin Nunes had a news conference, did you hear about this, where they have a lot

of information on tapping. When I said wiretapping, it was in quotes. Because a wiretapping is,

you know today it is different than wire tapping. It is just a good description. But wiretapping

was in quotes. What I’m talking about is surveillance. . . . House intelligence chairman Devin

Nunes told reporters, wow. Nunes said, so that means I’m right. Nunes said the surveillance

appears to have been . . . incidental collection.” Ex. 12 at 5 (emphasis added).

       That afternoon, the Fox News program “The Five” broadcast Nunes’s “it is possible”

answer and highlighted it with the chyron: “REP NUNES: IT IS POSSIBLE PRES TRUMP’S

TWEETS WERE CORRECT,” Ex. 32:




       Also that afternoon, Nunes appeared on CNN, where he told Jake Tapper: “President

Trump, to some degree, is right that he did end up in some [of the] intelligence reports” that Nunes

reviewed. Ex. 9. But that statement had no basis. Ellis, who gave Nunes the files and sat with

him as he reviewed the materials, testified that the files “were disseminated reports with US

person information anonymized, but none of them, based on the context, appear to be Trump

himself.” Ex. 29 at 106:19-107:15.

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       A March 22, 2017 New York Times article summed up how Nunes’s public appearances

that day had changed the public conversation about Trump’s wiretapping tweets: “For weeks,

President Trump has insisted that President Barack Obama tapped his phones even as the F.B.I.

director and members of Mr. Trump’s own party said there was no evidence for his charge. But

on Wednesday, Mr. Trump got an assist from a powerful House Republican who said the

president or his closest associates may have been “‘incidentally’ swept up in foreign surveillance

by American spy agencies.” Ex. 33.

               4.     After March 22, 2017.

       Nunes appeared on Fox News on March 23, where, after Sean Hannity played for Nunes

the video of Trump saying Nunes’s briefing had made him feel vindicated, Hannity asked:

            HANNITY: The president then said that he felt vindicated over his claims
            that he felt he was—well, he said wiretapping, but surveillance,
            wiretapping—in my view, we’re just really parsing words. But he was picked
            up at least in an incidental way. Can you give us more detail about it?

            NUNES: Well, it’s tough for me to get into it, right, because I’ve only read
            the report, so I don’t know all the intelligence that went into it. But to me, I
            mean, it’s clear that I would be concerned if I was the president. And that’s
            why I wanted him to know, and I felt like I had a duty and obligation to tell
            him because, as you know, he’s been taking a lot of heat in the news media.

Ex. 10 (emphasis added).

       Nunes immediately faced criticism from Democrats on the House Intelligence Committee

for briefing the press and the White House about the intelligence files before briefing fellow

Committee members, leading to public reports that Nunes had apologized to them for his handling

of the information. Ex. 34; Ex. 35; Ex. 36.

       In the ensuing days, reporters and officials also began to question Nunes’s suggestion that

the source of the intelligence files was a whistleblower. On March 23, Sean Spicer expressed

doubt about speculation that the White House itself may have fed Nunes the information: “I don’t


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know what he actually briefed the president on, but I don’t know why he would come up to brief

the president on something that we gave him . . . . That doesn’t really seem to make a ton of

sense. I’m not aware of it, but it doesn’t really pass the smell test.” Ex. 37.

       On March 26, The Post published a feature on Nunes that reported ranking member Adam

Schiff’s suspicion of “a White House hand in what he called Nunes’s ‘dead-of-night’ excursion

to view classified documents.” Nakashima Ex. F. The article recounted how, within hours of

Nunes’s announcement, “President Trump was declaring that he had been vindicated for his

tweets alleging that Trump Tower had been wiretapped by his predecessor, Barack Obama. . . .

That sequence was largely engineered by a conservative lawmaker from California’s Central

Valley who has emerged as one of Trump’s most tenacious allies on Capitol Hill.” Id.

       On March 27, CNN revealed that Nunes had reviewed the intelligence files at the White

House. Ex. 38. That day, Nunes’s spokesman Jack Langer falsely told the Los Angeles Times

that although Nunes met the source at the White House, “the source of Nunes’s information was

not a White House staff member.” Ex. 39. Langer testified that

                                                      Ex. 40 (Deposition of Jack Langer (“Langer

Dep.”)) at 249:19-250:5. Similarly, on March 30, Speaker of the House Paul Ryan told CBS

News that Nunes had told him (falsely) that the source was “a whistleblower-type person.” Ex.41.

       Also on March 27, just days before news reporting would uncover that White House

staffers had prepared the intelligence files for Nunes and handed them to him, Nunes appeared on

CNN, where he made additional false statements to conceal this fact. Nunes:

       ●       falsely said he did not meet with “The President or his aides,” when he in fact met

with White House lawyer Ellis;

       ●       falsely said “people in the West Wing had no idea I was there,” when Ellis in fact



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supplied the files to Nunes after meeting with White House Counsel McGahn; and

       ●       falsely denied that “someone in the administration was coordinating the release of

this information to [Nunes],” when White House lawyer Ellis had not only coordinated the release

but had supplied the information to Nunes and sat with him while he reviewed it. Ex. 8 at 15-16.

       While making these false statements, Nunes also said that the visit occurred during

daylight hours. Ex. 8 at 14. News organizations, however, reported that it had occurred at night.

See, e.g., Ex. 42 (March 24, 2017 Daily Beast article) (“Devin Nunes Vanished the Night Before

He Made Trump Surveillance Claims”; quoting Democratic Representative Mike Quigley about

“this middle of the night excursion”); Ex. 43 (March 26, 2017 Guardian article) (“Such behaviour

reportedly includes an unexplained disappearance from an Uber ride with a staffer on Tuesday

night”); Ex. 44 (March 27, 2017 New York article) (“Devin Nunes was riding in an Uber with a

staffer Tuesday night, when he received a communication on his phone.”); Ex. 45 (March 28,

2017 Weekly Standard article) (“Regardless of who helped him access the documents Tuesday

night and how, Nunes was back at the White House the next afternoon to brief the president on

what he had seen.”); Ex. 46 (March 27, 2017 Atlantic article) (“With his late-night escapades and

questionable explanation for his visit, he has fed speculation that he is working in concert with

the White House and attempting to help the president”); Ex. 47 (NBC, May 25, 2018 NBC article)

(“Nunes ditched his staff and took a late night Uber to the White House complex.”).

       On March 30, The Post and the New York Times each revealed that White House officials

had shown Nunes the intelligence files after all. Ex. 48, Ex. 49. The Times reported that although

“[i]n his public comments,” Nunes “has described his sources as whistle-blowers trying to expose

wrongdoing at great risk to themselves,” that “does not appear to be the case.” Ex. 49.

       These reports led to commentary that Nunes had damaged his reputation for truthfulness



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and independence. For example, a Bloomberg columnist wrote: “This week, [Nunes] told me

that his source for the information was an intelligence official, not a White House staffer. It turns

out he misled me . . . . This is a body blow for Nunes, who presented his findings last week as if

they were surprising to the White House.” Ex. 50.

       Nunes also received public criticism for breaking with Intelligence Committee tradition

by failing to brief his Committee members about the intelligence files before briefing the

President, who the day before had been revealed as at least a possible subject of the just-

announced FBI investigation. He was criticized by both Democrats and Republicans, including

Senator Lindsey Graham, who said “The problem that he’s created is he’s gone off on a lark by

himself, sort of an Inspector Clouseau investigation here,” and Senator John McCain, who said

Nunes’s actions were “very disturbing,” and that he should recuse himself from the Russia

investigation. Ex. 51; Ex. 52. On April 6, 2017, Nunes announced that he was temporarily

stepping away from leading the Intelligence Committee’s Russia investigation. Ex. 53.

       Over time, Nunes’s once-secret March 21, 2017 visit to the White House to view

intelligence files came to be referred to “the midnight run” as a shorthand. See, e.g., Ex. 54 (L.A.

Times, Jan. 5, 2018) (“It became known as ‘the midnight run,’ a dark-of-night dash to the White

House compound last March 21 by Rep. Devin Nunes to view classified reports two weeks after

President Trump’s incendiary claim that President Obama was ‘tapping my phones’ before the

2016 election.”); Ex. 55 (Atlantic, April 4, 2018) (“Nunes’s late-night excursion to the White

House last spring[,] referred to as ‘the Midnight Run’”); Ex. 56 (N.Y. Times, April 24, 2018)

(describing the “late-night visit to Pennsylvania Avenue,” and observing that “since Nunes’s

midnight run, the committee has been crippled by partisan fighting”); Ex. 43 (Guardian, March

26, 2017) (“Lawmaker’s ‘peculiar midnight run’ endangers Trump-Russia inquiry”); Ex. 57



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(Newsweek, Feb. 11, 2018) (describing the “now-famous ‘midnight run’ to the White House”).

       C.      November and December 2020.

               1.      The November 9, 2020 Article.

       More than three and a half years later, on November 9, 2020, Washington Post national

security reporter Ellen Nakashima received a scoop from her Post colleague Greg Miller: Michael

Ellis, then a White House senior director for intelligence who had graduated from law school only

nine years earlier, was to be named general counsel of the National Security Agency amid internal

opposition to the nomination. Nakashima Decl. ¶ 19.

       Nakashima is an experienced, award-winning reporter who has worked at The Post since

1995 and on The Post’s national security desk since 2009. Id. ¶¶ 8-9. Between March 2017 and

November 2020 Nakashima wrote hundreds of articles for The Post on intelligence and national

security issues. Id. ¶ 16. Nakashima’s beat was national security issues involving the Executive

Branch, and she did not regularly cover either Congress or Nunes. Id. ¶ 9. Her reporting on

Nunes in March 2017 was limited to one article where she shared a byline, Nakashima Ex. E, and

another where she had a contributor credit, id. Ex. F. When Nakashima set to work on the scoop

about Michael Ellis, details she had been exposed to more than three and a half years earlier were

not in her mind. Nakashima Decl. ¶ 34.

       Over a few hours on November 9, 2020, Nakashima received approval from her editor to

pursue the story, researched it, wrote it, and published a 600-word article. Nakashima Decl. ¶¶ 19,

31.   The breaking news about Ellis and the reaction within the NSA were the focus of

Nakashima’s reporting, time, and attention. Id. ¶ 24. She identified sources who might have

information about the appointment, spoke with them, and used their information to inform her

reporting. Id. It is common in reporting breaking news to provide background information to

help readers place the news in context. Id. ¶ 26. Nakashima decided to give readers such

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background information about two past public controversies in which Ellis had been involved:

moving the transcript of President Trump’s 2019 phone call with Ukrainian President Zelenskyy

to a highly classified server amid events that ultimately led to Trump’s first impeachment, and

Ellis’s involvement in Nunes’s “midnight run” episode in 2017. Ex. 1.

       Because for this background discussion Nakashima was only summarizing previous news

reports, there was no need to reach out to sources, and she instead reviewed prior news coverage

to find a concise way to convey information about the two incidents. Nakashima Decl. ¶ 26. For

the Nunes incident, Nakashima conducted internet searches, reviewed a few articles, and then

wrote two sentences. Id.

       Nakashima relied primarily on two articles to help her fashion a concise background

description of the incident. Nakashima Decl. ¶ 33; Ex. 58 (Deposition of Ellen Nakashima

(“Nakashima Dep.”)) at 29:8–29:12, 53:16–54:5. In describing Nunes’s White House visit and

its aftermath, a March 30, 2017 New York Times article, titled “2 White House Officials Helped

Give Nunes Intelligence Reports,” reported that “the view among Democrats and even some

Republicans was that Mr. Nunes was given access to the intelligence reports to divert attention

from the investigations into Russian meddling, and to bolster Mr. Trump’s debunked claims of

having been wiretapped” and “[o]n both counts, Mr. Nunes appears to have succeeded,” including

because “the administration has portrayed his information as vindicating the president’s

wiretapping claims.” Nakashima Ex. O.

       A March 30, 2017 Washington Post article authored by Greg Miller and Karen DeYoung,

titled “Three White House officials tied to files shared with House intelligence chairman,”

reported that “[t]he White House role in the matter contradicts assertions by the committee’s

chairman, Rep. Devin Nunes (R-Calif.), and adds to mounting concerns that the Trump



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administration is collaborating with the leader of the House Intelligence Committee’s

investigation of Russian meddling in the 2016 election.” Nakashima Ex. L. The article further

explained that “[t]he materials unearthed by Nunes have been used to defend President Trump’s

baseless claims on Twitter that he had been wiretapped at Trump Tower under a surveillance

operation ordered by then-President Barack Obama. FBI Director James B. Comey and others

have said that claim is false.” Id.

       In her quick review of these passages, Nakashima misunderstood them to say that as

Nunes had “bolster[ed]” and “defend[ed] Trump’s wiretapping claims,” they were Nunes’s claims

as well. Nakashima Decl. ¶ 34; Nakashima Dep. 214:17–215:11. She did not notice her error.

Nakashima Decl. ¶ 34.

       Based on her memory of coverage of the Nunes incident, she added that the visit had

become known as “the midnight run” and explained that was because it reportedly occurred late

at night. Id. ¶ 38; Nakashima Tr. 70:6–70:13.

       None of the articles Nakashima reviewed on November 9, 2020 included any mention of

Nunes saying there had been no wiretapping of Trump Tower. None of the articles said the White

House visit had taken place during daylight hours; instead, two said it had taken place at night.

Nakashima Ex. O (describing visit as occurring at “night” and “after dark”); Nakashima Ex. Q

(describing visit as occurring at “night”). And Nakashima did not remember ever hearing about

Nunes saying his White House visit took place during daylight hours. Nakashima Decl. ¶ 40. In

March 2017, Nunes spokesman Langer had only generally stated to Nakashima that reporting on

Nunes’s March 21 trip to review documents was inaccurate, without specifying any details,

including about the time it occurred, Id. ¶ 14; Nakashima Ex. G; Langer Dep. at 217:9-218:1 (“

                                             .”), and Nakashima in any event did not have this



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conversation in her mind in November 2020, Nakashima Decl. ¶ 34.




                                                  . E.g., Finn Ex. B. Three and a half years and

hundreds of articles later, she did not remember this information as she wrote the two sentences.

Nakashima Decl. ¶ 35. Nor could she have found those emails if she wanted since the Post email
                                                                   6
system prevented her from accessing emails from 2017. Id. ¶ 41.

       National security editor Peter Finn reviewed and approved the Article. He did not notice

any factual error and although he had also sent and received some emails including Nunes’s denial

of wiretapping in March 2017, he did not remember them three and a half years later and similarly

did not have access to or remember those emails when reviewing the Article. Finn Decl. ¶ 26.

       No one else had responsibility for the substantive content of the Article. Finn Decl. ¶ 15.

Nakashima received the byline because she reported and wrote the story. Miller received a

contributor credit for passing on the tip. He did not review the Article. Miller Decl. ¶¶ 19-20.

       In finalizing the Article, Nakashima inserted a hyperlink to the March 30, 2017 Post article

she had relied on (and which did not include a reference to Nunes saying there had not been

wiretapping). Nakashima Decl. ¶ 28, Ex. L. The online Article was published on the evening of

November 9 and a print version of the story was published on November 10. The only substantive


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  As the Court noted, 12(b)(6) Op. at 3 & nn. 6, 8, 11, the Complaint’s allegations of actual malice
included that two Post articles, published on March 15 and 26, 2017, respectively, mentioned
Nunes’s statement that Trump Tower had not been wiretapped. Am. Compl. ¶ 22(a) n.5 (citing
Greg Miller and Karoun Demirjian article, Ex. 59; and Chris Cillizza article, Ex. 60). These were
among the isolated documents Nakashima saw or may have seen at the time but did not remember
in November 2020. Nakashima Decl. ¶ 35; Nakashima Dep. at 112:1-2. Although Nakashima
was listed as a contributor to the March 26, 2017 article, her role was limited to seeking comment
from Nunes spokesman Langer about Nunes’s trip to review documents, not about Trump’s
wiretapping claims. Nakashima Decl. ¶ 14; Nakashima Ex. G.

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difference between the two is that the print version did not include the sentence concerning the

timing of Nunes’s White House visit. Compare Ex. 1 with Ex. 2.

               2.     The Lawsuit, Retraction Demand, and December 7, 2020 Corrected
                      Article.

        On November 17, 2020, Nunes filed this lawsuit and immediately thereafter demanded a

retraction (including a copy of his filed Complaint with his demand). Ex. 3.




                                          . Nakashima Decl. ¶ 45; Finn Decl. ¶ 19; Barr Decl.

¶ 11.

                                        Finn Decl. ¶ 20; Miller Ex. D.




Nunes had in fact made substantial efforts in his treatment of the intelligence files to buttress

Trump’s baseless claims of wiretapping by stating, repeatedly, that the intelligence files he

reviewed validated Trump’s claims about surveillance of him or his associates, resulting in Trump

enthusiastically telling the public that Nunes had vindicated Trump. Nakashima Decl. ¶ 48; Finn

Decl. ¶ 20; Barr Decl. ¶ 14.




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                                    a March 30, 2017 article by The Post’s Philip Bump, which

was not among the articles that Nakashima had reviewed when preparing the original Article.

Nakashima Decl. ¶ 47; Barr Decl. ¶ 16. Bump’s article had reported that Nunes’s White House

visit had taken place in the “afternoon or evening” and that “[t]he precise timing on this isn’t

clear; in later interviews, Nunes says that it was still daylight.” Nakashima Ex. V.

       The online Correction and the Corrected Article reflected                                   .

The Correction included the statement that “[t]his article has also been updated to note that Nunes

says an incident known as ‘midnight run’ took place during daylight hours.” Ex. 4. The corrected

passage added the sentence: “The precise timing of the visit is unclear, and Nunes says it took

place during daylight hours.” Id.

       Accordingly, the Corrected Article, published to The Post’s website on December 7, 2020,

corrected the attribution of the wiretapping claims to Trump, revised the sentence to reflect that

Nunes received files he believed would buttress Trump’s claims, and stated that the precise timing

of the visit was unclear and Nunes said it occurred during daylight hours. Ex. 4. The Post also

included an editor’s note describing the correction, and explaining that “Nunes has stated that he

did not believe there had been any wiretapping of Trump Tower.” Id. A similar correction was

published in The Post’s print edition on December 8, 2020, without the reference to the timing of

Nunes’s visit because discussion of that fact had not appeared in the original print Article. Ex. 5.

       D.      Procedural History.

       Nunes sued The Post in the Eastern District of Virginia prior to sending the retraction

demand, in a two-count complaint alleging defamation and negligence. Two months after The

Post published the Corrected Article, Nunes filed an amended complaint (“Complaint”). ECF

No. 22. It added a claim about the corrected statement that “Nunes believed [the intelligence

files] would buttress Trump’s baseless claims,” ECF No. 22, ¶ 17(b), but did not add a claim over

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the editor’s note that “[t]his article has been updated to note that Nunes says an incident known

as the ‘midnight run’ took place during daylight hours” or the corrected statement that while the

incident earned the nickname the “midnight run” because it was reportedly late at night, “[t]he

precise timing of the visit is unclear, and Nunes says it took place during daylight hours.” Ex. 4.

       The Post moved to dismiss. After transfer to this District, this Court denied the motion as

to the defamation claim and granted it as to the negligence claim. 12(b)(6) Op. at 1. As to actual

malice, the Court observed that Nunes would later have to surmount the “clear and convincing

evidence” standard at summary judgment. Id. at 12-13. The Court held as to substantial truth

and defamatory meaning that at the Rule 12(b)(6) stage “[a] reasonable juror could . . . conclude

that” the Article “was materially false because it stated that Nunes had made such a baseless claim

(when he had not),” and capable of a defamatory meaning because “a reasonable juror could

conclude that an elected official is ridiculous or unfit for office if he searched for evidence to

support baseless claims” and that he did so “‘late at night,’ suggesting something untoward about

the outing.” Id. at 8-9. The Court added that “‘baseless’ is the type of word that transforms the

‘gist’ of the article by insinuating that Nunes is the type of official who would spend his time

searching for evidence to support claims with no foundation in fact.” Id. at 9.

       Nunes later moved to supplement the Complaint to add claims over a December 2021

Washington Post column and background allegations about The Post’s past national security

reporting, which the Court denied in a February 2, 2002 Order. Feb. 2, 2022 Order at 3-4, ECF

No. 51. In that Order, the Court noted that it had earlier denied The Post’s motion to dismiss “in

large part because the two contested articles . . . could be read as stating that Nunes himself had

made or believed baseless claims that the Obama administration had wiretapped Trump Tower.”

The parties then engaged in discovery, which is now closed.



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                            SUMMARY JUDGMENT STANDARD

       Summary judgment should be granted when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); Montgomery v. Risen, 875 F.3d 709, 713 (D.C. Cir. 2017). “[T]his standard

provides that the mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; the requirement is that there be

no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

Because the plaintiff bears the burden of proof on all claims, the defendant is entitled to summary

judgment where the plaintiff “fails to make a showing sufficient to establish the existence of an

element essential to [his] case, . . . since a complete failure of proof . . . necessarily renders all

other facts immaterial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).

       “To preserve First Amendment freedoms and give reporters, commentators, bloggers, and

tweeters (among others) the breathing room they need to pursue the truth, the Supreme Court has

directed courts to expeditiously weed out unmeritorious defamation suits.” Kahl, 856 F.3d at

109. In particular, “[w]hen determining if a genuine factual issue as to actual malice exists in a

libel suit brought by a public figure, a trial judge must bear in mind the actual quantum and quality

of proof necessary to support liability” under the New York Times Co. v. Sullivan, 376 U.S. 254,

279-80 (1964) standard. Anderson, 477 U.S. at 254. Thus, the question at summary judgment is

whether Nunes has sufficient evidence to “support a reasonable jury finding that he has shown

actual malice by clear and convincing evidence.” Jankovic v. Int’l Crisis Group, 822 F.3d 576,

590 (D.C. Cir. 2016) (quotation marks and alterations omitted) (affirming summary judgment);

see Kahl, 856 F.3d at 116 (“That heightened summary judgment standard helps ‘prevent persons

from being discouraged in the full and free exercise of their First Amendment rights.’” (quoting

Washington Post Co. v. Keogh, 365 F.2d 965, 968 (D.C. Cir. 1966))). He cannot.

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                                          ARGUMENT

       To prevail on a defamation claim, a plaintiff must prove a number of elements, including

that the defendant published (1) a provably false statement of fact about the plaintiff, which is

(2) defamatory, (3) materially false, and (4) published with the requisite degree of fault, which in

this case is actual malice. See Deripaska v. Assoc. Press, 282 F. Supp. 3d 133, 140-41 (D.D.C.

2017). If the plaintiff cannot show that there is genuine dispute as to material fact as to every

element as to which the defendant moves, summary judgment should be granted for defendants.

       Summary judgment should be granted here for the following separate and independent

reasons. First, Nunes, a public figure and public official, cannot establish by clear and convincing

evidence that The Post made any allegedly false statement about him with actual malice. Second,

the record shows without any genuine dispute of material fact that the challenged statements about

Nunes’s conduct in connection with his March 21, 2017 White House visit are not materially

false, because the “gist” or “sting” of the challenged statements is substantially the same as that

of his actual conduct. In addition, the challenged statements are not defamatory. Third, the one

statement in the Corrected Article that Nunes challenges—that he “believed” intelligence files he

received would buttress Trump’s wiretapping claims—cannot support a defamation claim

because a statement about someone’s belief or motivation is a type of nonactionable opinion.

I.     There Is No Genuine Issue of Material Fact as to Actual Malice.

       As the Court has noted, “Nunes does not dispute that he is a public figure” subject to the

actual malice test. 12(b)(6) Op. at 9 n.11; see also Pl.’s March 5, 2021 Opp. to Mot. to Dismiss

at 22 (“plaintiffs like Nunes—public figures”), ECF No. 36. Nunes, who was a leading member

of Congress as chair of the House Intelligence Committee, is also subject to the actual malice test

as a public official. See Rosenblatt v. Baer, 383 U.S. 75, 85 (1966) (“government employees who

have, or appear to the public to have, substantial responsibility for or control over the conduct of

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government affairs”); Thompson v. Armstrong, 134 A.3d 305, 308, 312 (D.C. 2016).

       Nunes’s defamation claims fail under this test. Nunes cannot carry his burden of showing

that a properly instructed jury could find by clear and convincing evidence that The Post made

any allegedly false statement about him with actual malice.

       A.      The Law of Actual Malice.

       Actual malice requires proof that Defendants published false statements about Plaintiff

“with knowledge that [they] were false or with reckless disregard of whether [they were] false or

not.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 280 (1964). “[I]t is not enough to show that

defendant should have known better.” Jankovic, 822 F.3d at 589; see Masson v. New Yorker

Mag., Inc., 501 U.S. 496, 510 (1991) (“Mere negligence does not suffice.”). Instead, the “‘proof

must show that ‘the defendant in fact entertained serious doubts as to the truth of his publication.’”

Kahl, 856 F.3d at 116 (quoting St. Amant v. Thompson, 390 U.S. 727, 731 (1968)).

       Where, as here, an organization is a defendant, the relevant state of mind is that of “the

persons in the . . . organization having responsibility for the publication.” N.Y. Times, 376 U.S.

at 287; see also Waskow v. Assoc. Press, 462 F.2d 1173, 1175 n.4 (D.C. Cir. 1972) (per curiam)

(“[T]he fact that a news organization possesses information (such as items in a clipping file)

which indicates the falseness of a news item does not establish that the organization acted with

knowledge of the falseness”). As to the Article, those persons were Nakashima and her editor,

Peter Finn. Nakashima Decl. ¶ 4; Finn Decl. ¶ 15. Greg Miller, who received a contributor credit,

did not write any part of the Article, or review it before publication. Miller Decl. ¶ 19. As to the

Corrected Article,

                               Barr Decl. ¶ 10; Nakashima Decl. ¶ 44; Finn Decl. ¶ 18.

       The “clear and convincing” evidence standard is “significantly more onerous than the

usual preponderance of the evidence standard,” Kahl, 856 F.3d at 116 (quoting Tavoulareas v.

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Piro, 817 F.2d 762, 776 (D.C. Cir. 1987) (en banc)), requiring that “the ultimate factfinder [have]

an abiding conviction that the truth of [the] factual contentions [is] ‘highly probable,’” Colorado

v. New Mexico, 467 U.S. 310, 316 (1984).

       Actual malice is thus a “famously daunting” standard, Tah v. Glob. Witness Publ’g, Inc.,

991 F.3d 231, 240 (D.C. Cir.), cert. denied, 142 S. Ct. 427, 211 L. Ed. 2d 252 (2021), which “very

few public figures can meet,” Fridman v. Orbis Bus. Intel. Ltd., 229 A.3d 494, 509 (D.C. 2020).

It “is not easily met, even at summary judgment,” which is why courts frequently grant summary

judgment for defendants. Jankovic, 822 F.3d at 590; see Lohrenz v. Donnelly, 350 F.3d 1272,

1283-84 (D.C. Cir. 2003) (plaintiff failed to meet “heavy burden” at summary judgment);

McFarlane v. Sheridan Square Press, Inc., 91 F.3d 1501, 1515-16 (D.C. Cir. 1996) (affirming

summary judgment); Kahl, 856 F.3d at 117-18 (directing grant of summary judgment).

       B.      The Two Challenged Statements in the Article and the One Challenged
               Statement in the Corrected Article.

       Nunes cannot show by clear and convincing evidence that The Post acted with actual

malice in making any of the three challenged statements: (1) Nakashima’s mistake in the Article

about who had made baseless claims; (2) her explanation in the Article that “the midnight run”

was so named because it reportedly happened late at night; and (3) the Corrected Article’s

statement that Nunes believed the intelligence files would help buttress Trump’s baseless claims.

       The Court’s Rule 12(b)(6) Opinion rejected most of Plaintiff’s allegations of actual

malice—including that The Post purportedly “made up facts,” “abandoned all journalistic

standards and integrity,” relied on unreliable sources, and acted out of “institutional hostility,

hatred, . . . bias, spite and ill-will” toward Nunes. 12(b)(6) Op. at 10 (quoting Compl. ¶¶ 22a,

22d, 22e). The Court properly deemed these conclusory allegations insufficient as a matter of

law, noting, among other things, that “‘a public figure plaintiff must prove more than an extreme


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departure from professional standards and[] a newspaper’s motive in publishing a story cannot

provide a sufficient basis for actual malice.’” Id. at 10-11 (quoting Harte-Hanks Commc’ns, Inc.

v. Connaughton, 491 U.S. 657, 665 (1989)); see also, e.g., Tah, 991 F.3d at 241 (emphasizing

that “preconceived notions” or “suspicion[s]” usually do “little to show actual malice”) (quotation

omitted); McFarlane v. Esquire Mag., 74 F.3d 1296, 1307 (D.C. Cir. 1996) (“The fact that a

commentary is one sided and sets forth categorical accusations has no tendency to prove that the

publisher believed it to be false.”).

        These same allegations still fail—not only as a matter of law but also because they have

no factual basis. The Post did not “make up” any facts about Nunes’s White House visit or rely

on an “unreliable source.” Instead, Nakashima consulted public sources—past news coverage of

the episode. Nakashima Decl. ¶ 43; see Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287,

1297 (D.C. Cir. 1988) (“[G]ood faith reliance on previously published reports in reputable sources

. . . precludes a finding of actual malice as a matter of law”). When later considering whether and

how to correct the Article,

Nakashima Decl. ¶ 45; Barr Decl. ¶ 11; Finn Decl. ¶ 19. Nunes has no expert witness on

journalistic standards who could testify that making a factual error in a background paragraph in

a breaking news story is a departure from journalistic standards, let alone an extreme departure.

        Instead, Nakashima engaged in her usual practice of conducting research to support

statements in the Article. Nakashima Decl. ¶¶ 22, 32. No one—not Nakashima, Finn, or the

                                                                                  —sought to tell

a lie to harm Nunes out of bias or ill will. Id. ¶ 55; Barr Decl. ¶ 26; Finn Decl. ¶ 29. And it is

incredible to suggest that even if anyone at The Post sought to harm Nunes with a lie—which no

one at The Post would do—that they would lie about a news story that had received wide public



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news coverage in the past and could therefore be readily disproved. In addition, as this Court

noted, although the fact of a correction does not foreclose the possibility of actual malice, it “‘is

significant and tends to negate any inference of actual malice.’” 12(b)(6) Op. at 12 (quoting

Logan v. District of Columbia, 447 F. Supp. 1328, 1332 (D.D.C. 1978)); see also Hoffman v.

Wash. Post Co., 433 F. Supp. 600, 605 (D.D.C. 1977), aff’d, 578 F.2d 442 (D.C. Cir. 1978).

       The Court held that the allegation of actual malice that it could not dismiss on the Rule

12(b)(6) record was what it termed the plausible inference that The Post could have been aware

that Nunes had denied that Trump Tower had been wiretapped because the Complaint identified

two Post articles from March 2017 that reported Nunes’s denial, on one of which Nakashima had

a contributor credit. 12(b)(6) Op. at 12. On the summary judgment record, that allegation cannot

survive because Nunes cannot demonstrate by clear and convincing evidence that Nakashima or

Finn had such knowledge more than three and a half years later when she briefly wrote and he

briefly reviewed the two background sentences in a breaking news article. “Against the affidavits

of [The Post’s] employees to the effect that they were unaware of the [alleged] error, there is

nothing in the record from which it can be inferred that the story was distributed or published

with knowledge that it was false.” Waskow, 462 F.2d at 1175. Nor can Nunes demonstrate that

The Post acted with actual malice in any other respect in connection with the Article or the

Corrected Article published on December 7, 2020.

               1.      “[Nunes’s] baseless claims.”

       While reporting a breaking news story about a national security issue of substantial

interest, Nakashima made a mistake when inserting background information. Ex. 1; Ex. 2. She

and The Post subsequently corrected that mistake. Ex. 4; Ex. 5. As a matter of law, merely

making a mistake is not evidence of actual malice. See Secord v. Cockburn, 747 F. Supp. 779,

792 (D.D.C. 1990) (“[T]he mere fact that subsequent events determine the falsity of a . . .

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statement would be tantamount to conflating . . . actual malice and falsity.”).

       Indeed, the actual malice standard was devised precisely to protect publishers from

liability for good-faith mistakes. As the Supreme Court explained in Bose Corp. v. Consumers

Union, 466 U.S. 485 (1984): “Realistically, some error is inevitable; and the difficulties of

separating fact from fiction convinced the Court in New York Times . . . and similar cases to limit

liability” under the actual malice standard “in order to eliminate the risk of undue self-censorship

and the suppression of truthful material.” Id. at 512-13 (alteration omitted); see also, e.g.,

Fairbanks v. Roller, 314 F. Supp. 3d 85, 92 (D.D.C. 2018) (“Because free debate inevitably leads

to some mistaken statements and punishment of these statements would chill the freedom of

speech, reckless disregard requires a “high degree of awareness of . . . probable falsity.”). Nunes

cannot show by clear and convincing evidence that Nakashima acted with actual malice in making

the mistake, or that Finn acted with actual malice in not noticing it.

       While reporting about the Ellis NSA appointment, Nakashima was looking for a concise

way to convey background information about the March 2017 Nunes White House visit in which

Ellis was involved. Nakashima Decl. ¶ 33. She conducted internet searches to read past news

coverage of the incident. Id. ¶ 25. She primarily relied on two March 30, 2017 news articles, by

the New York Times and The Post, which had broken the news that Nunes’s repeated denials of

White House orchestration of his review of intelligence files turned out to have been false. Id. ¶

33.   Those articles reported that Nunes had successfully “bolstered” Trump’s “debunked”

wiretapping claims, and successfully “defended” Trump wiretapping claims that were “baseless.”

Id. Ex. L; Ex. O. In working to synthesize what she read to fit it into a sentence, she misconstrued

the articles to say that because Nunes was bolstering and defending these baseless wiretapping

claims—and doing so successfully—they were Nunes’s claims. Id. ¶ 34. She did not notice this



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mistake at the time, id., and her editor Peter Finn, did not notice an error when reviewing the

Article, Finn Decl. ¶ 10. Notably, none of the articles Nakashima reviewed said Nunes had denied

wiretapping of Trump Tower. Nakashima Decl. ¶ 37, Exs. L, O-S.

       Under controlling law, a good-faith misreading of source material with ambiguities is not

evidence of actual malice. See Time, Inc. v. Pape, 401 U.S. 279, 290-92 (1971); Jankovic, 822

F.3d at 594 (affirming summary judgment); Kahl, 856 F.3d at 118 (directing grant of summary

judgment when publisher misinterpreted hearing excerpt and erroneously attributed the

prosecutor’s statement to the judge); Waskow, 462 F.2d at 1176 (affirming summary judgment

dismissal where alleged error was the product of a “good faith misinterpretation”). For example,

in Jankovic, the author of an international NGO’s report misread a government frozen asset list

as saying that the plaintiff’s assets had been frozen for giving support to a sanctioned individual.

822 F.3d at 594.     Affirming summary judgment, the D.C. Circuit held that “[a]n honest

misinterpretation does not amount to actual malice even if the publisher was negligent in failing

to read the document carefully.” Similarly, in Pape, the Supreme Court reversed denial of a

motion for judgment as a matter of law where a Time researcher had mistakenly omitted the word

“alleged” in summarizing a report, explaining that “[g]iven the ambiguities of the [report] as a

whole, and the testimony of the Time author and researcher, Time’s conduct reflected at most an

error of judgment,” not actual malice. Pape, 401 U.S. at 292. Likewise, here, Nakashima’s

unrebutted testimony is that she misread the source material and Finn’s unrebutted testimony is

reviewing the article he did not catch it as an error. Nakashima Decl. ¶ 34; Finn Decl. ¶ 10.

       Nunes will contend that Nakashima and Finn must have acted with knowledge of falsity

because emails and articles produced by The Post in discovery show that each sent or received

email or other documents on a few days in March 2017 that contained Nunes’s wiretapping denial.



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E.g., Finn Ex. B. Similarly, as the Court noted, the Complaint alleged that two Washington Post

articles from March 2017 included Nunes’s denial of wiretapping. 12(b)(6) Op. at 12.

        This is where the difference between the plausible-inference test at the Rule 12(b)(6) stage

and the requirement to provide clear and convincing evidence of actual malice at the summary

judgment stage is dispositive. More than three and a half years had elapsed since Nakashima’s

and Finn’s exposure to reporting on Nunes’s statements in March 2017. Nakashima had written

hundreds of other articles in that time. Nakashima Decl. ¶ 16.

        On November 9, 2020, with Nakashima focusing her attention on the breaking news

aspects of her reporting, Nakashima Decl. ¶ 24, and Finn spending less time than that reviewing

that sentence, Ex. 11, neither of them recalled that in March 2017 they had seen or passed along

reporting of Nunes’s denial, Nakashima Decl. ¶ 41; Finn Decl. ¶ 27. Moreover, because of Post

email policies, neither had access in November 2020 to the 2017 emails that The Post produced

in discovery. Nakashima Decl. ¶ 41; Finn Decl. ¶ 26.

        Courts in D.C. and across the country grant or affirm summary judgment where, as here,

journalists had been exposed to information in the past, but testified that they had not recalled

that information at the time of publication. See, e.g., Buendorf v. NPR, Inc., 822 F. Supp. 6, 8

(D.D.C. 1993) (granting summary judgment where NPR host made a false statement about the

sexual orientation of the plaintiff secret service agent as a result of misremembering two famous

presidential assassination attempts); Burns v. Rice, 813 N.E.2d 25, 35-36 (Ohio Ct. App. 2004)

(affirming summary judgment where the author of an erroneous report testified that he may have

read a press release from a year earlier that would have contradicted his reporting but that he did

not recall its details when writing his report).

        For example, in Nader v. de Toledano, the D.C. Court of Appeals affirmed summary



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judgment dismissal of defamation claims Ralph Nader brought against a publisher who reported

that he had “falsified and distorted evidence,” where the publisher based his review of an article

on his memory of prior “press coverage” of a government report that had said Nader made certain

allegations in “good faith.” The publisher testified that at the time of the article at issue, he “did

not remember any reference in the [prior] news item relating to, and thus had no knowledge of,”
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the good faith finding. 408 A.2d 31, 57 (D.C. 1979).

       Similarly, the Fourth Circuit recently affirmed summary judgment in a case in which

journalists from numerous news organizations, including ABC, Fox, NBC, and The Post, were

accused of defaming the plaintiff by erroneously reporting that he was a convicted felon even

after they knew and in some cases had reported he was only a misdemeanant. Blankenship v.

NBCUniversal, LLC, 60 F.4th 744, 750 (4th Cir. 2023), cert. denied, 2023 WL 6558383 (U.S.

Oct. 10, 2023). For example, the plaintiff presented evidence that a Fox host had received the

correct fact in a briefing packet, and heard it on air, only weeks prior to publishing the false

statement; that a Post reporter had correctly reported that the plaintiff was a misdemeanant three

months prior; that an ABC journalist had authored or co-authored three articles which correctly

reported that fact the same year, and had received numerous emails to that effect; and that an

MSNBC host had acknowledged the misdemeanor conviction in email two and a half years

earlier. But in every case, the Fourth Circuit agreed that the evidence of the journalists’ lack of

memory could not establish actual malice. Id. at 758-63 (explaining, for example, that “Doocy’s

remark and the briefing packet might well permit a finding that a reasonable person in Cavuto’s

position should have known Blankenship was convicted of a misdemeanor, but actual malice


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  By contrast, while the court denied summary judgment as to a separate reporter, that was because
the journalist admitted during deposition that “he was aware” that the report had stated Nader
acted in good faith when writing the article. Nader, 408 A.2d at 51-54.

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requires ‘much more’ than mere negligence.”).

       And any other factual conclusion would make little sense: anyone who falsely stated that

the baseless claims of spying were Nunes’s while knowing that public reporting had said Nunes

had disbelieved the wiretapping would know that any false statement like that would be readily

rebutted, resulting only in embarrassment to the speaker. Nunes cannot satisfy the clear and

convincing evidence test.

               2.      “[R]eportedly late at night, earning the episode the nickname ‘the
                       midnight run.’”

       For similar reasons, Nunes has no evidence, let alone clear and convincing evidence, that

The Post acted with actual malice when Nakashima explained in the online version of the Article

that the incident had earned the nickname “the midnight run” because Ellis had helped Nunes see

the intelligence files “reportedly late at night.” Ex. 1.

       First, it is indisputable that the episode was in fact widely known as “the midnight run”

and that numerous accounts reported that it had occurred at night or late at night. See pp. 16-17,

supra. Nakashima had a general recollection that the reason for the nickname is that it had

occurred late at night and, in sharing that explanation with readers, she expressly couched it with

the word “reportedly,” which she meant to signal that she was not definitively reporting when the

review of intelligence files occurred. Nakashima Decl. ¶ 39. Nakashima’s intent to flag the non-

definitive quality of the information independently undermines any actual malice claim. See, e.g.,

Harvey v. CNN, Inc. 48 F.4th 257, 274 (4th Cir. 2022) (affirming dismissal; noting that

defendant’s “characteriz[ing] the statements made . . . as ‘claims’” “may actually rebut” a claim

of actual malice ) (citing McFarlane, 74 F.3d at 1304).

       Second, Nakashima had no contradictory information in her mind on November 9, 2020

when she wrote the sentence. Nakashima Decl. ¶ 32. None of the articles she reviewed said that


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Nunes’s review of files occurred during the day; to the contrary, two said it had occurred at night.

Id. ¶ 40; Exs. O, Q. Nakashima thus had no reason to disbelieve her statement and in fact believed

it. Id. ¶ 40. Nunes will argue that in March 2017 he gave a CNN interview in which he said the

document review occurred during daylight hours, and a March 2017 Washington Post article by

Philip Bump said the same thing. Ex. 8; Ex. 61. But there is no evidence that Nakashima saw

that interview or read that article or would have remembered them three and a half years later if
                                                  8
she had. Nakashima Dep. 142:9-10, 272:4-6.            See, e.g., Blankenship, 60 F.4th at 758-63

(allegations of far more recent knowledge of contrary facts not enough to support actual malice).

       And even if Nunes were to argue that Nakashima should have done more checking, such

a criticism is not relevant to her subjective state of mind at the time of publication and thus is

insufficient to create a material issue of act as to actual malice. See, e.g., McFarlane, 91 F.3d at

1509 (actual malice inquiry focuses on “the publisher’s state of mind,” not “whether the publisher

satisfied an objective standard of care.”); Hoffman, 433 F. Supp. at 605 (even where author had

relied on only his own “vague recollections” when writing about the plaintiff’s “valueless protein

supplements,” that conduct fell “far short of raising a genuine issue” of actual malice).

       The same is all true for editor Finn, who read the article and did not understand the

reference to the timing of Nunes’s document review to be inaccurate. Finn Decl. ¶ 12.

       Third, The Post’s inclusion in the Correction of an update of the review’s timing—

including Nunes’s position that it occurred during daylight—fully corrected any statement

conveying the message that the review had occurred late at night, as reflected by Plaintiff’s not


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  In her only contribution to a different March 2017 article, Nakashima sought comment from
Nunes spokesman Langer about Nunes’s White House visit. Nakashima Decl. ¶ 14. She testified
that she has no memory of Langer denying that the incident took place at night, Nakashima Dep.
293:6-295:3, and her contemporaneous notes
                            , Nakashima Decl. ¶ 14, Nakashima Ex. G.

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making a new claim about the updated reporting of the timing of the review. See, e.g., Logan,

447 F. Supp. at 1332 (correction tending to negate actual malice).

                3.       “Nunes believed [the intelligence files] would buttress Trump’s
                         baseless claims of the Obama administration spying on Trump
                         Tower.”

       Undisputed evidence shows that the



                     was true and thus did not act with actual malice.



Nakashima Decl. ¶ 44; Finn Decl. ¶ 18; Barr Decl. ¶ 10.

       The Court held at the Rule 12(b)(6) stage that a reasonable inference of actual malice

could be derived from the language “‘Nunes believed [intelligence files] would buttress Trump’s

claims’” because “a reasonable juror could conclude [it] meant that Nunes did believe the baseless

claims.” 12(b)(6) Op. at 12. But now, where the evidentiary burden is on Plaintiff to establish

The Post’s actual malice, by clear and convincing evidence, he cannot do so.

       First,                                         both the Correction at the top of the Corrected

Article and the corrected statement. Nakashima Decl. ¶ 49 . Read together, they show that The

Post did not intend to convey the message that Nunes believed Trump’s baseless claims. The

Correction at the top said the opposite: “Nunes has stated that he did not believe there had been

any wiretapping of Trump Tower.” Ex. 4 (emphasis added). See Tavoulareas, 817 F.2d at 779–

80 (“[A] court is to consider both the words themselves and the entire context in which the

statement occurs.”); 12(b)(6) Op. at 7. Thus, the statement later in the Article that “Nunes

believed [the files] would buttress Trump’s baseless claims of . . . spying on Trump Tower” was

meant by The Post to convey just that, not that Nunes believed the baseless claims. Nakashima

Decl. ¶ 49; Finn Decl. ¶ 23; Barr Decl. ¶ 19. See Newton v. NBC, 930 F.2d 662, 680-81 (9th Cir.

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1990) (the “deliberately subjective” actual malice test does not permit liability to be imposed “for

what was not intended to be said”).

       Second, there is no evidence that                 had any, let alone any serious, subjective

doubts about the accuracy of the corrected sentence because they based it on their review of

contemporaneous March 2017 news coverage of Nunes’s White House visits that said the same

thing as the corrected sentence, including coverage of Nunes’s own public statements.

Nakashima Decl. ¶ 54; Finn Decl. ¶ 25; Barr Decl. ¶ 23.              indeed included in its review

the past news coverage that Nakashima had initially misread as well as other coverage showing

that Nunes had in fact used information about the intelligence files he viewed at the White House

to suggest that Trump’s concerns about surveillance were valid. Nakashima Decl. ¶ 48.

       For example,                      the March 30, 2017 New York Times article stating that

“the view among Democrats and even some Republicans was that Mr. Nunes was given access

to the intelligence reports . . . to bolster Mr. Trump’s debunked claims of having been wiretapped”

and “appears to have succeeded.” Ex. 49. And the March 30, 2017 Washington Post article

           stated, “[t]he materials unearthed by Nunes have been used to defend President Trump’s

baseless claims on Twitter that he had been wiretapped at Trump Tower.” Ex. 48. Other news

coverage                         further supported the reporting that Nunes had used the material

to support Trump’s claims. Nakashima Exs. V, W. This included the chapter of Greg Miller’s

book The Apprentice that Finn reviewed and its report that Nunes “said that Trump’s surveillance

claim was wrong in the most literal reading of his tweet, but implied that he had discovered new

information substantiating the president’s concerns.” Miller Dec. Ex. B.

       The Post team thus believed it was accurate to say Nunes believed the intelligence files

could be used to buttress Trump’s baseless claims. The news coverage                   —including



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published articles by colleagues and other respected news sources, and reporting of Nunes’s own

words—said that Nunes had used the materials in this manner, and had done so successfully.

Team members testified that they believed the articles were accurate. Nakashima Decl. ¶ 54;

Finn Decl. ¶ 25; Barr Decl. ¶ 23.                     reputable news sources demonstrates that a

defendant has not acted with actual malice. See, e.g., Liberty Lobby, 838 F.2d at 1297. And there

is no evidence to the contrary.

II.    The Challenged Statements Are Not Materially False and Defamatory.

       The summary judgment record shows that Plaintiff is unable to raise a genuine issue of

material fact to support that any of the challenged statements are materially false. Nor, as a matter

of law, is any of them defamatory.

       A.      The Law of Material Falsity and Defamatory Meaning.

       Material Falsity: “The truth of the publication is a complete defense in a libel action.”

Copeland-Jackson v. Oslin, 555 F. Supp. 2d 213, 217 (D.D.C. 2008). “Minor inaccuracies do not

amount to falsity so long as the substance, the gist, the sting, of the libelous charge be justified.”

Masson, 501 U.S. at 517 (quotations omitted); Liberty Lobby, 838 F.2d at 1296. A statement is

materially false only if it has “a different effect on the mind of the reader from that which the

pleaded truth would have produced.” Shipkovitz v. Wash. Post Co., 408 F. App’x 376, 377-78

(D.C. Cir. 2010) (per curiam) (quoting Masson, 501 U.S. at 517). Courts regularly grant summary

judgment for inability to demonstrate material falsity. See, e.g., Montgomery, 875 F.3d at 714.

       Defamatory Meaning: Even if challenged statements about a plaintiff are materially

false, a plaintiff must also be able to show that they are defamatory. “An allegedly defamatory

remark must be more than unpleasant or offensive; the language must make the plaintiff appear

odious, infamous, or ridiculous.” Smith v. Clinton, 886 F.3d 122, 128 (D.C. Cir. 2018) (per

curiam) (quotation marks omitted). “There is common agreement that a communication that is

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merely unflattering, annoying, irksome, or embarrassing . . . is not actionable.” 1 Robert D. Sack,

Sack on Defamation § 2.4.1 (5th ed. 2017). Rather, defamation “necessarily . . . involves the idea

of disgrace.” Guilford Transp. Indus., Inc. v. Wilner, 760 A.2d 580, 594 (D.C. 2000) (quoting

W. Page Keeton et al., Prosser & Keeton on the Law of Torts § 111, at 773 (5th ed. 1984)).

Whether the challenged statements are defamatory is a legal question to be resolved by the court

in the first instance. Smith, 886 F.3d at 128. “The plaintiff has the burden of proving the

defamatory nature of [the challenged] publication, and the publication must be considered as a

whole, in the sense in which it would be understood by the readers to whom it was addressed.”

Abbas v. Foreign Pol’y Grp., LLC, 975 F. Supp. 2d 1, 14 (D.D.C. 2013) (cleaned up), aff’d, 783

F.3d 1328 (D.C. Cir. 2015). Courts routinely grant summary judgment in defamation cases where

the challenged statements fall short. See, e.g., Guilford Transp. Indus., 760 A.2d at 597.

       B.      The Challenged Statements in the Article.

       Nunes cannot show on the summary judgment record that the statement that he made

baseless claims of spying on Trump Tower satisfied the requirement that it be materially false.

Nor can he show that it is materially false to say that the March 2017 White House document

review was known as the “midnight run” because it occurred “reportedly late at night.” This is

because the indisputable facts of Nunes’s conduct in connection with that review carry a “gist”

or “sting” the same as or worse than the challenged statements.

       On March 21, 2017, White House lawyer Michael Ellis called Nunes to come to the White

House, where Ellis showed Nunes intelligence files about incidental collection and unmasking by

the Obama administration that concerned the Trump transition team. Ellis Dep. at 73:19-75:8,

78:3-79:9. Instead of briefing fellow members of his own Intelligence Committee the next day,

Nunes called two press conferences to publicize his review of the files; said his findings indicated

that it is possible that Trump’s wiretapping claims could be correct; and gave the President a

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briefing that Trump immediately characterized as “Nunes said, so that means I’m right,” Ex.12,

while Nunes agreed: “President Trump, to some degree, is right,” Ex. 9.

       Nunes also made the baseless claim that “President Trump . . . did end up in some [of the]

intelligence reports” he reviewed, id., even though Ellis, who sat with Nunes as he reviewed them,

testified that they “were disseminated reports with US person information anonymized, but none

of them, based on the context, appear to be Trump himself.” Ellis Dep. at 106:19-107:15.

       Nunes over the next week made a series of false statements to the public to conceal that

White House officials had been his source. See supra Section Background B.4. These included

Nunes’s false statement on the morning of March 22, hours after he had been sitting in a secure

office in the White House complex reviewing the intelligence files that had been handed to him

by a White House lawyer: “The administration, I don’t think, is aware of this.” Ex. 7 at 3.

       Before the press uncovered his ruse on March 30, Nunes made numerous other false

statements.                                                                     that “the source of

Nunes’s information was not a White House staff member,” which was then printed in the Los

Angeles Times on March 27, 2017, misleading the public. Ex. 39. That same day, he falsely

stated on live television that he did not meet with “The President or his aides,” that “people in the

West Wing had no idea I was there.” And he falsely denied that “someone in the administration

was coordinating the release of the information” to him. Ex. 8 at 15–16.

       These false statements mattered because they created a false narrative that Nunes had

uncovered important intelligence information that provided some measure of support for the

President’s baseless wiretapping claims, lending credence to them given his role as the Chair of

the Intelligence Committee. In fact, the White House gave him that information. It was a political

charade rather than intelligence oversight.



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       As examples of the public condemnation of Nunes for his deceit, one journalist wrote that

Nunes “misled me. . . . This is a body blow for Nunes, who presented his findings last week as

if they were surprising to the White House.” Ex. 50. In the aftermath, other journalists wrote that

the “unusual episode did more to embarrass the Tulare Republican than help Trump.” Ex. 54. A

political scientist criticized that the ruse was a prominent example of “fake oversight,” and

destroyed bipartisanship in the intelligence committee. Ex. 62.

       The Seventh Circuit’s decision in Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222 (7th Cir.

1993), is instructive. The plaintiff sued for defamation because a book had inaccurately reported

that he “left his children alone at night when he was supposed to be watching them; that he lost a

job or jobs because of drinking; and that he spent money on a car that he should have used to buy

shoes for his children.” Id. at 1226. The plaintiff, however, “was a heavy drinker, a bad husband,

a bad father, an erratic employee. . . . Whether he . . . was fired for drinking rather than for having

liquor on his person while working, or preferred to spend money on his car than on his children’s

shoes, are details that, while not trivial, would not if corrected have altered the picture that the

true facts paint.” Id. (emphasis in the original). Accordingly, the court held, “no reasonable jury”

could find the book’s depiction was not substantially true. Id.; see also, e.g., Wentz v. Project

Veritas, 2019 WL 1716024, at *5 (M.D. Fla. Apr. 16, 2019) (accusation that plaintiff is a liar is

substantially true where he admitted that he had lied to someone).

       The same is true here. First, in connection with his controversial March 21, 2017 White

House visit to review intelligence files, Nunes did not make his own baseless claims of

wiretapping Trump Tower, but he did make false claims about who gave him intelligence files to

conceal that he was helping to conceal the White House’s involvement in publicizing the files, in

a way that benefitted the President’s wiretapping narrative. Second, while Nunes may not have



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reviewed the documents late at night, possibly suggesting “something untoward” about the visit

12(b)(6) Op. at 8-9, he did make numerous false statements specifically to conceal the visit, which

at least equally suggests “something untoward.” Third, it is indisputably true that the episode was

nicknamed “the midnight run,” and the statement does not carry a materially greater sting by

saying it was reported to have been late at night. Thus, like the plaintiff in Haynes, Nunes could

not create a genuine issue of material fact as to material falsity.

       The Post moved to dismiss on the ground that the challenged statements do not rise to the

level of defamation and recognizes that the Court rejected this argument in its Rule 12(b)(6)

Opinion. However, the statements must now be revaluated in light of the substantially true facts,

because “[t]he falsity of a statement and the defamatory ‘sting’ of the publication must coincide—

that is where the alleged defamatory ‘sting’ arises from substantially true facts, the plaintiff may

not rely on minor or irrelevant inaccuracies to state a claim for libel.” Chapin v. Knight-Ridder,

Inc., 993 F.2d 1087, 1092 (4th Cir. 1993). Here, even if incorrect, the statement that a staunch

Congressional defender of President Trump reviewed documents at the White House, reportedly

late at night, in order to buttress his baseless claims of wiretapping of Trump Tower cannot sustain

a defamation claim because the statement does not make Rep. Nunes appear materially more

“odious, infamous, or ridiculous” than his actual conduct. See Smith, 886 F.3d at 128.

       The common dictionary definition of “baseless” is “not based on facts,” rather than being

incapable of being supported.         Baseless, Cambridge Dictionary, https://bit.ly/3MssDnq.

Accordingly, it does not make the President’s defender appear to be ridiculous or unfit to arrive

at the White House to look for information that could “buttress”—defined as “to give support to

or strengthen something,” Buttress, Cambridge Dictionary, https://bit.ly/3Mrs9Ow—the claims.

And even if stating that the file review occurred late at night could reasonably suggest that



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something “untoward” happened, a suggestion of a single instance of an “untoward” meeting is

not enough to cause Nunes to appear ridiculous or unfit. See Weyrich v. New Republic, Inc., 235

F.3d 617, 627 (D.C. Cir. 2001) (holding that isolated anecdotes concerning reprobation of

appellant did not suggest anything “untoward” about him).

       C.       The Challenged Statement in the Corrected Article.

       Nor is there evidence for Plaintiff to create a genuine issue of material fact as to the alleged

material falsity of the Corrected Article’s statement that Nunes believed the files he reviewed

would buttress Trump’s baseless claims on wiretapping.

       Nunes, in his own words, supported Trump’s baseless wiretapping claims by repeatedly

making public statements supporting Trump’s concerns over surveillance by equating Trump’s

wiretapping claims with Nunes’s own stated concerns about potential electronic surveillance by

the Obama administration of Trump or his associates. See supra Section Background B.1; Miller

Decl. ¶¶ 15-16. Nunes used his asserted concerns over the intelligence files he reviewed to do

this—including by calling two unscheduled press conferences to promote his surveillance

concerns arising from his review of the files and appearing on television interview programs

where he admitted his self-publicized briefing of Trump was because the President had been

“taking heat.” Ex. 10. Nunes also said that “it is possible” Trump’s wiretapping tweets were

correct.    Ex. 11 at 4:07–4:12.     Affirming that Nunes’s statements “buttressed” Trump’s

wiretapping claims, Trump immediately told the public that he felt “vindicated” and Nunes’s

review of the files meant that “Nunes said, . . . that means I’m right,” Ex. 12. And on the same

day, Nunes agreed that “President Trump, to some degree, is right.” Ex. 9.

       Nunes cannot show a material inaccuracy since it is indisputable that Nunes did in fact

use the intelligence files to buttress Trump’s baseless wiretapping claims. And if the contrary

argument is that Nunes used analogous information to support Trump’s wiretapping claims only

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indirectly, that is not materially different from the shorthand “buttress.” Accordingly, as a matter

of law, Nunes is unable to establish material falsity. See Liberty Lobby, 838 F.2d at 1296 (“‘It is

not necessary to establish the literal truth of the precise statement made. Slight inaccuracies of

expression are immaterial provided that the defamatory charge is true in substance.’”) (quoting

Restatement (Second) of Torts § 581A, comment f (1977)).

       Nor can Nunes’s claim over the corrected sentence satisfy the defamation element.

Because the Correction at the top of the article said that “Nunes has stated that he did not believe

there had been any wiretapping of Trump Tower,” Ex. 4, the Corrected Article in context did not

say that Nunes believed Trump’s baseless spying claims. And to state that a defender of the

President visited the White House—in daylight hours, according to him—to view intelligence

files that he believed would buttress Trump’s baseless claims does not suggest that he engaged in

disgraceful conduct or is unfit for his position as a Congressman. See Smith, 886 F.3d at 128.

III.   The Corrected Article’s Statement About Nunes’s Belief Is Not a Verifiable
       Statement of Fact and Thus Is Nonactionable Opinion.

       The only statement in the Corrected Article that the Amended Complaint challenges is

that Nunes “was given access at the White House to intelligence files that Nunes believed would

buttress Trump’s baseless claims of the Obama administration spying on Trump Tower.” Ex. 4.

For an additional reason, this statement cannot support a defamation claim: it is nonactionable

opinion because a statement about a plaintiff’s belief or motivation is not verifiably true or false.

       A.      The Law of Opinion.

       Only a statement of fact that is capable of being proved false can be potentially actionable

in a defamation case. See Rosen v. Am. Isr. Pub. Affs. Comm., Inc., 41 A.3d 1250, 1256 (D.C.

2012). Statements that cannot be proved false qualify as a type of nonactionable opinion. See

Xereas v. Heiss, 933 F. Supp. 2d 1, 18 (D.D.C. 2013). One example is statements that are “too


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subjective . . . to be proved false.” Chapin, 993 F.2d at 1093 (term “hefty” applied to price mark-

ups not capable of being proven true or false).

       One category of “subjective judgment[s] that [are] not verifiable” and thus “non-

actionable statement[s] of opinion” is statements about the “possible feelings or motivations

behind [a plaintiff’s] actions.” Montgomery v. Risen, 197 F. Supp. 3d 219, 248-49 (D.D.C. 2016),

aff’d, 875 F.3d 709 (D.C. Cir. 2017) (citing cases); Farah v. Esquire Mag., 736 F.3d 528, 539-40

(D.C. Cir. 2013) (statement that plaintiff authors were “not motivated by genuine belief, but rather

by a desire to hold their readers ‘captive’ and to ‘sell books’” was protected opinion). Courts

dismiss such claims as a matter of law. See, e.g., Montgomery, 197 F. Supp. 3d at 248-49.

       Courts hold statements about a plaintiff’s belief or motivation to be nonactionable even

when they are made as part of a fact-finding report. Thus, in Turner v. Wells, 198 F. Supp. 3d

1355 (S.D. Fla. 2016), aff’d, 879 F.3d 1254 (11th Cir. 2018), a law firm’s investigative report

noted that the plaintiff, an NFL coach, had given a player a male blow-up doll as a “taunt.” 198

F. Supp. 3d at 1368. The coach claimed defamation, alleging that, while he had indeed given the

doll, he had meant it as a “gift,” not a taunt. Id. The court dismissed the claim as a matter of law,

holding that the report’s conclusion as to plaintiff’s intent in giving the doll was a subjective

assessment of plaintiff’s motivation and therefore nonactionable. Id. at 1370.

       B.      The Post’s Statement about Nunes’s Belief Is Nonactionable Opinion.

       The only challenged statement about Nunes in the Corrected Article is one about his

belief. It is therefore nonactionable. The Post corrected the factual statement in the original

Article that Nunes made baseless claims about wiretapping. This leaves the statement in the

Corrected Article that Nunes “was given access at the White House to intelligence files that Nunes

believed would buttress Trump’s baseless claims of the Obama administration spying on Trump

Tower.” Ex. 4 (emphasis added). Because that statement is about only Nunes’s belief, and not

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his actions, it is incapable of being proven true or false and cannot support a defamation action.

See, e.g., Turner, 198 F. Supp. at 1370 (affirming dismissal, holding that a statement about a

plaintiff’s motive is nonactionable opinion because it “is not subject to empirical proof”); Filippo

v. Lee Publ’ns, Inc., 485 F. Supp. 2d 969, 980 (N.D. Ind. 2007) (granting summary judgment,

noting that “[c]ourts have repeatedly held that statements about another person’s . . . beliefs . . .

constitute protected opinions”); Montgomery, 197 F. Supp. 3d at 248-49.

                                         CONCLUSION

       For the reasons stated, the Court should grant summary judgment in favor of The Post.



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